               IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF IOWA
                       CEDAR RAPIDS DIVISION

                                              )
TRACEY K. KUEHL, et al.,
                                              ) Case No. C14-02034-JSS
                                              )
                     Plaintiffs,
                                              )
       v.
                                              ) Motion to Seal
                                              )
PAMELA SELLNER, et al.,
                                              )
                                              )
                      Defendants.
                                              )
                                              )

      Plaintiffs respectfully request the Court to seal certain records submitted in

support of its Motion for Summary Judgment, pursuant to Local Rule 10(h)(8).

The information submitted to the Court and identified on the ECF system as

Docket No. 21-12 may contain Defendants’ “personal financial information” as

contemplated by Local Rule 10(h)(8). Plaintiffs consent to the sealing of

Defendants’ personal financial information and have no objection to sealing the

documents identified as Docket No. 21-12.

                                       Respectfully submitted,

                                       /s Jessica L. Blome

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                              Verification of Counsel

            I, Jessica L. Blome, am counsel of record, and I certify that the

foregoing is true to the best of my knowledge and belief.

            June 17, 2015                                   /s Jessica L. Blome
            Date                                            Jessica L. Blome




                               Certificate of Service

      I certify that a copy of this Motion was delivered to all counsel of record

through the Court’s electronic case filing system this 17th day of June, 2015.

                                                            /s Jessica L. Blome
                                                            Jessica L. Blome




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